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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

The Sustainability Institute, et al.,        )   Civil Action Number: 2:25-cv-02152-RMG
                                             )
                        Plaintiffs,          )
                                             )
                vs.                          )
                                             )
Donald J. Trump, in his official capacity    )
as President of the United States, et al.,   )
                                             )
                        Defendants.          )

   DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR PRODUCTION OF
                   DOCUMENTS IN NATIVE FORMAT

        In connection with the hearing on Plaintiffs’ Motion for Preliminary Injunction (ECF No.

24), the Court ordered expedited discovery and directed Defendants to file the documents produced

on ECF. See ECF No. 45 at 4. The Court did not order production of documents in native format.

See generally id. Thus, Defendants filed the documents on ECF. See, e.g., ECF Nos. 65, 66, 67,

79-91, 95-103, 106-132.

        On April 25, 2025, Plaintiffs filed a Motion for Production of Documents in Native Format

(the “Motion”), asking the Court to compel Defendants to produce native versions of all documents

filed on ECF to date, as well as native versions of all future document productions. See ECF No.

145 at 1, 4. In response, after agency review of E-discovery capabilities, Defendants proposed

the following two-part resolution.

        First, regarding the non-privileged documents produced to date, the United States

Department of Energy, the United States Department of Transportation, and the United States

Department of Agriculture agree to provide a copy of the documents to Plaintiffs in the standard

native file format that the agencies’ E-discovery tools allow. Because the United States
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Environmental Protection Agency (“EPA”) produced redacted documents and documents that

include privileged email attachments, EPA is not able to provide a copy of the documents in native

version because those files reportedly would not include the redactions and privileged email

attachments apparently cannot be removed from the native production. Nonetheless, regarding

the documents produced to date, EPA will agree to provide a load file that will allow Plaintiffs to

access metadata.

       Second, regarding future productions, the deadline for conducting the Rule 26(f)

conference has not arisen. The Court ordered expedited discovery only in connection with the

Motion for Preliminary Injunction. As a result, the current Motion is premature in seeking an

order regarding future document discovery. Therefore, Defendants recommend that the parties

discuss electronic discovery issues during that conference, as provided by the Federal Rules.

       While Plaintiffs have not yet had an opportunity to respond to Defendants’ proposal,

Defendants respectfully submit that the resolution addresses Plaintiffs’ concern about loading the

non-privileged documents already produced into discovery review software. See ECF No. 145 at

3. Thus, the proposal moots Plaintiffs’ Motion regarding the non-privileged documents already

produced.

       Regarding future discovery, because Defendants use a variety of platforms, the parties

should discuss “any issues about disclosure, discovery, or preservation of electronically stored

information, including the form or forms in which it should be produced” during the Rule 26(f)

conference, rather than in response to a premature motion to compel documents. See Fed.R.Civ.P.

26(f)(3)(C). Plaintiffs provide no argument or explanation why the standard procedures outlined




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in the Federal Rules would be insufficient to address future discovery outside the preliminary

injunction context of the expedited discovery ordered by the Court.

       Therefore, Defendants respectfully request that the Court deny Plaintiffs’ Motion as moot

regarding non-privileged documents already produced and deny Plaintiffs’ Motion as premature

regarding future discovery.



                                                    Respectfully submitted,

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